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8 UNITED STATES DISTRICT COURT
9 CEN'IRAL DISTRICT OF CALIFORNIA
10
n mCHAEL WILLIAMSON, and ) ease No. Cv-Iz-so§é-DSP (JCX)
12 DWIGHT LAY,-individually and on )
13 behalf of all others Similarly Situated, ) DEFENDANTS ERICK GEISLER
Plaintiffs, ) AND GS ENTERTAINMENT,
14 ) LLC’S OPPOSITION TO
15 vs. ) MOTION FOR CERTIFICATION
) OF A CLA_SS ACTION
16 ERICK GEISLER, GS )
37 ENTERTA.INMENT, LLC, a ) No Hearing Scheduled
California Limited Liability Company, )
18 MUSE PRODUCTIONS, INC., a )
19 Califomia Corporation, and NICK )
CASSAVETES, ) Complaint Filed: 9/18/12
20 Defendants. )
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22 . . .
Def`endants Enck Geisler and GS Entertainment, LLC (“Defenda.nts”), by
23 and through its undersigned'counsel, submits the following Opposition to
24 Plaintiffs’ Motion for Certitication of Class.
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I. INTRODUCTION
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This action concerns an independent Small budget film production entitled
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2 “Yellow" (“.Picture”) Written and directed by defendant Nick Cassavetes who hails
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DEFENDANT ERICK GEISLER AND GS ENTERTAINMENT, LLC’S OPPOSITION TO
MOTION FOR CERTlFICATION O`f" A CLASS ACTION `

 

 

 

 

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H‘om a renown family in the film business (his father Was John Cassavetes) and
Who directed the profitable major studio film, “The Notebook”. The first phase of
the production Was a five day film shoot in Los Angeles during September, 2010
(under the Working title “Proud Mary”). After a gap of several months the Picture
resumed shooting in the State of Ol<lahoma for more than five Weeks in the
summer of 2011 to take advantage of tax credits in that state. The same director
and principal cast participated in both` the Los Angeles and Oklahoma film shoots.
Virtually the entirety of the Los Angeles film footage Was incorporated in the final
Picture Which was screened at the Toronto Film Festival in 2012 (Where it was not
Well received by critics), but has not been released to date. (July 15 , 2013
Declaration of Ericl< Geilser, Para. 2) `

The Los Angeles film shoot used both union (Tearnsters, IATSE, SAG) and
non-union crew. There Were employees and independent contractors used in the
L.A. shoot. Virtually everyone Was paid a different Wage and performed a variety
of tasks from grip to hairdresser. YelloW Productions, LLC, Muse Productions,
and Nicl< Cassavetes produced the Picture. (July 15, 2013 Declaration of Erick
Geisler, Para. 3).

A man known as Joe Bretz (Whose real identity is unknown) promised to
provide seed money to get the Picture started for the Los Angeles shoot. By the
first day of shooting, With only a fraction of the promised filnding for the Picture
actually provided by Bretz, he disappeared As a result of Bretz’s disappearance
most of the cast and crew Were not paid immediately for the Los Angeles shoot.l
(July 15, 2013 Delcaration of Ericl< Geisler, Para 4).

Defendant Erick Geisler, Who controls GS Entertainment, LLC, is a young

man vvho had no film producing experience (he previously Worked in the special

 

1 Bretz Was a named Defendant in the related case, King v. Geisler, et al., Los Angeles Superior
Court BC450727, but Was dismissed after Plaintiff`s process servers could not locate hjm.
DEFENDANT ERICK GEISLER AND GS ENTERTAINMENT, LLC’S OPPOSITION T()
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effects field) and who was taken advantage of by unscrupulous individuals who
used him as a front. Geisler was promised he would be a producer on the Picture, if
he used GS Entertainment, LLC to hire the L.A. cast and crew. Later he was
denied any credit on the Picture by Yellow Productions, LLC which controls the
Picture. (July 15 , 2013 Declaration of Erick Geisler, Para. 5)

In January and February 2011, GS Entertainrnent entered into settlement
agreements with the Teamsters and IATSE unions regarding late wages By
Decernber, 2010 and January, 2011 the vast majority of individual Los Angeles
cast and crew members were paid in full with respect to any and all claims not
covered by the union settlement agreements (i.e. waiting penalties, etc). (July 15,
2013, Declaration of Erick Geisler, Para. 6)

ln 2011 the vast majority of cast and crew from the Los Angeles shoot
signed releases of liability as to GS Entertainment, LLC (July 15, 2013 Declaration
of Erick Geisler, Para. 7).
II. RELATED CASE

In December, 2010, Plaintiff‘s counsel filed a related class action lawsuit in
State court on behalf of one plaintiff`, and a putative class, Denz's Kz`ng v. GS
Entertainment, Eric Geisler, Joe Bretz, Nick Cassavetes, Muse Productions, Chris
Hanlev, Jordan Gertner and Does l througthO (LASC 450729), later reclassified
as Case No. 12Kl3691 (Limited jurisdiction).

In that action, GS Entertainment was sued for wage penalties, and Muse
Productions, Joe Bretz, and Nick Cassavetes were sued for FLSA violations as
joint employers '

In State court, Plaintiff King moved to certify a class based on alternative
theories of Section l6(b) of the F air Labor Standards Act relating to a "collective
action", Section 362 of the California Code of Civil Procedure relating to a "class

action", and Section 2698 of the California Labor Code relating to a "private

DEFENDANT ERICK GEISLER AND GS ENTERTAINMENT, LLC’S OPPOSITION TO
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attorney general action ("PAGA").

After reviewing over one hundred pages of argument, authority and evidence
presented by Plaintiff in support of the motion (including the Declarations of
Williamson and Lay, Plaintiffs in the instant action), the Los Angeles Superior
Court judge denied certification of a collective action, finding:

"Matter is a purported class action and collective action for failure to

properly pay wages. Many of the plaintiffs have already been paid and

signed releases of all claims. Most crew members belong to unions and the

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unions as well have signed releases Union members have arbitration
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agreements in their contracts The motion to certify as a collective action is

DENIED for lack of numerosity, mootness, lack of standing and not

similarly situated." (Declaration of Stephen J. Goldberg, February 2, 2012,
L.A.S.C. Order).

Thereafter, defendants Muse Productions, Inc. Chris Hanley and Jordan
Gertner (of Muse) moved the superior court for an order transferring the case to
limited jurisdiction (less than $25,000) for trial of King's claim to a waiting penalty
for one (1) day's wages. Once again, Plaintiff` filed over a hundred pages of
argument and authorities in opposition ln response, the Superior Court ruled:

"Jurisdictional limit Of $25,000 is unattainable. Walker v. Superz`or Courr

(1991) 53 Cal.3d 25 7. This matter is ordered reclassified as a limited

jurisdictional matter and is to remain in the Los Angeles Judicial District."
(Declaration of Stephen Goldberg, June 20, 2012, L.A.S.C. Order)

Trial of King's one day of Work (for which he was paid $305.00) and wage
penalty is scheduled for July 18, 2013, in the Limited Department, Los Angeles
Superior Court.

The astonishing fact remains that in the two and one half years since the

state court action was filed, Plaintiff’s counsel has not been able to add a

28 DEFENDANT ERICK GEISLER AND GS ENTERTAINMENT, LLC’S OPPOSITION TO
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single additional plaintiff other than original Plaintiff`s King, Williamson, and
Lay to either the state court or the federal court actions, yet the Plaintif`fs seek
class certification

III. FEDERAL COMPLAINT

On September 22, 2012, presumably in response to the State Court denying
class certification and transferring his action to limited jurisdiction court, Plaintiff's
counsel filed the instant lawsuit, utilizing the identical complaint he filed in State
court (literally word for word), on behalf of two different crew members

On April 16, 2013, Plaintiff‘s counsel filed the instant motion for
certification, utilizing the same motion to certify and supporting evidence that he
filed in State court, minus only the arguments that state law certification under
Section 362 and PAGA apply.

The legal and factual issues of class certification for the members ofthe
Picture’s cast and crew have already been litigated in State court. Plaintiff" s
counsel seeks a second bite of the apple in federal court. This is a case strictly
generated by a law firm, not by a class of individual plaintiffs
IV. RIPENESS l

The Motion is premature. This case is not yet at issue. Plaintiff counsel's
has stated in his Rule 26 Report that he intends to file an amended Complaint
naming additional parties as plaintiffs and defendants (Yellow Productions, LLC
and Mediate, LLC as defendants). (See Rule 26 Joint Report). Months later no
additional parties have been added

This action was filed over nine (l l) months ago. No discovery whatsoever
has taken place, yet Plaintiffs seek an order certifying a class against parties that
have not yet appeared, as well as parties that have not yet been named, Served or
provided an opportunity to respond (See Docket and Rule 26 Joint Report).

The Plaintiff`s’ total lack of discovery in this action means that they have

DEFENDANT ERICK GEISLER AND GS ENTERTAlNl\/IENT, LLC’S OPPOSITION TO
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presented no evidence supporting their motion for certification other than the
declarations of the Plaintiffs, the declaration of Defendant Geisler in the state court
action, and irrelevant excerpts h‘om Geisler’s deposition in the state court action.
V. MOOTNESS AN]) LACK OF STANDING
Plaintiffs were paid their wages in December, 2010 well before this action
was filed in September, 2012 (See Declarations of Plaintiffs Williamson and Lay).
“Class actions must satisfy normal Article 111 case ‘or controversy

requirements, including the requirement that the issues to be decided have not

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become moot. So if a would-be class representative’s individual claim becomes

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moot before he or she moves for certification, the action may be dismissed

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[Holmes v. Pension Plan ofBethlehem Steel Corp. (3’rd Cir. 2000) 213 F3d 124,

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13 5-136; see Comer v. Cisneros (2d Cir. 1994) 37 F3d 775, 798; Gram‘ ex rel.
Family Eldercare v. Gilbert (STh Cir. 2003) 324 F3d 383, 389]” (Rutter, FCP,
Section 10:352).

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In this action the named Plaintiffs were paid in full;for their work years

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before the action was commenced In fact, all, but a handful of crewmembers from

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the brief Los Angeles film shoot have been paid in full. There are very few

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potential class members who have not been paid (July 15, 2013 Declaration of
Erick Geisler).

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lf the named plaintiffs claim becomes moot before the class is certified the

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suit must be dismissed because no one besides the plaintiff has a legally protected

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interest in the litigation. Board of School Commissioners v. Jacobs, 420 U.S. 128,
95 S.Ct. 848, 43 L.Ed.Zd 74 -(1975) (per curiam); Berlrand ex rel. Bertrand v.
Mamm, 495 F.sd 452, 456 (7“‘ Cir. 2007).

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This action is distinguishable from a line of cases Which hold that simply

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paying off the individual claim(s) of the lead plaintiff(s) pre-certification will not

defeat class certification (e.g. Grijj’irh v. Bowen, 678 F.Supp. 942 (D. Mass. 1988).

DEFENDANT ERICK GEISLER AND GS EN'l`ERTAlNMENT, LLC’S OPPOSITION TO
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In this action Plaintiffs were paid their full wages and benefits years before the
complaint was even filed fn fact, virtually the entire potential class of cast and
crewmembers has been paid their wages and benefits pre-certification Therefore,
this action is moot which creates a lack of standing that cannot be cured by adding
potential substitute class members

VI. CLASS CERTIFICATION RULE 23 (a)

Under Rule 23(a), the party seeking certification must demonstrate,
first, that: “(1) the class is so numerous that joinder of all members is
impracticable (2) there are questions of law or fact common to the class, (3)
the claims or defenses of the representative parties are typical of the claims
or defenses of the class, and (4) the representative parties will fairly and
adequately protect the interests of the class” Plaintiff seeks certification under
F.R.C.P. 23. (Rule 23(a))

l. Numerosity

Plaintiffs Williamson and Lay both estimated in their declarations that there
were between forty (40) (Williamson) and fifty (50) (Lay) total members of the
cast and crew participating in the Los Angeles film shoot. (Declarations of
Plaintiffs Michael Williamson, Para. 12 and Dwight Lay, Para.12)

For purposes of evaluating “numerosity,” while no exact numerical cut-off
can be stated, the class must be so numerous that joinder of all members
individually is impracticable General Telephone CO. v. E.E. O.C. 446 U.S. 318
(1980) (finding fifteen or fewer persons too small for certification).

A significant majority of the cast and crew members have signed releases
Accordingly, the actual number of putative class members is small, perhaps no
more than ten, and geographically centralized (See, e.g. Slakey Bros. Sacramento,
Inc. v. Parker 265 Cal.App.Zd 204 (1968) (finding the twenty-six (26) potential

class members was too small to warrant certification)).

DEFENDANT ERICK GEISLER AND GS ENTERTAINMENT, LLC’S OPPOSITION TO
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The Los Angeles superior court judge has already determined the identical
putative class that Plaintiffs seek to certify lacked numerosity. (Declaration of
Stephen J. Goldberg, February 2, 2012 Los Angeles Superior Court Order).

In two and one half years since the state court action was filed, Plaintiffs’
counsel has only been able to identify and represent three members of the putative
class Whose collective wages were $1,300.00. j

2. Common Ouestions of Law and Fact

Comrnon questions of law and fact do not exist among the Los Angeies cast
and crew members

The putative class is divided between union and non-union members The
union members are bound to arbitration agreements The majority of putative class
members (union and non-union) have signed releases Therefore, very different
questions of law and fact apply to various members of the putative class

In addition, the terms and conditions of every crew member's employment
differ with respect to when each crew member worked, for how long each crew
member worked, where each crew member provided services, to whom each crew
member provided services and/or reported to, the amount of pay each crew
member was entitled to, the amount of overtime (if any) each crew member was
entitled to, when each crew member got paid, by whom each crew member was
paid, etc..

The defenses to each crew member's claims will be equally disparate ln
order to determine each crew member's wage claims in a class action, it will
require trial of each crew member's wage claim.

Where relief turns on individual circumstances class action treatment may
be denies son v. Hawmh, 916 rzd 134, 145 (4**‘ Cir. 1990). rn Fmga v. smsa
607 F.Supp.§l'?, 522 (D Or 1985) the INS delayed processing applications for

certificates of citizenship Class treatment Was inappropriate because relief

DEFENDANT ERICK GEISLER AND GS ENTERTAINMENT, LLC’S OPPOSITION TO
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depended on the facts of each individual application

Therefore, this matter does not present common questions of law and fact
suitable for class certification l

3. Typicality

Plaintiff‘s claims and the defense thereto are not typical of the putative class
Plaintiffs have not signed individual releases (as have a majority of the
crewmembers) and are furthermore bound by the releases signed by their union

(IATSE). Plaintiff's claims are not typical of other putative class members that

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have signed individual releases (union and non-union) or putative members that are

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not bound by union arbitration agreements

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Plaintiffs claims are not even typical of each other. According to their

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declarations they provided different services on different days for different pay,

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under different terms and conditions and are each subject to different defenses

(See Declarations of Plaintiffs Michael Williamson and Dwight Lay).

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In this matter there are disparate groups of cast and crewmembers Both of

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these Plaintiff electricians are members of the IATSE Union which settled its

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claims to wage violations collectively with the GS Entertainment, LLC. There are

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other unions representing the crewmembers such as the Teamsters which settled

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their claims with GS. In addition, the union contracts with crewmembers include

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an arbitration clause governing disputes whereas the non-union members do not

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have such provisions covering their employment on the L.A. film shoot.

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Where a representative’s claims may be typical of some of the proposed

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class members but atypical of other of the proposed class members courts have
declined to certify. Bl'shop v. Pez‘ro-Chem. Trans., LLC, 582 F.Supp.2d 1290, 1308
(E.D. Cal. 2008) (See also Sarvz`ss v. General Dynamics Information Technology,
663 F.Supp.2d 883, 910 (CD Cal. 2009) denying class certification in a wage and

hour action where the Plaintiffs provided no evidence that pay stubs and payroll

DEFENDANT ERICK GEISLER AND GS ENTERTAINMENT, LLC’S OPPOSITION TO
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systems were the same across the putative class).

The second indicia of lack of typicality of any potential class is the fact that
virtually every crewmember was paid different hourly wages and benefits because
the film crewmembers on this shoot (as in most film shoots), included a wide
variety of skill sets including production assistants camera operators grips sound
techs hair and makeup artists stuntmen, wardrobe handlers set decorators prop
handlers grips transportation drivers etc. Their hourly pay ranged from minimum
wage to seventy-five dollars per hour.

Therefore, the claims of the Plaintiffs are not typical of the crewmembers as
a whole. Safety and fire units were non-union and others such as Plaintiffs were
covered by IATSE, other crewmembers were covered by the Teamsters Union with
different rules Cast members were governed by Screen Actors Guild. Union
members were covered by arbitration clauses Many crewmembers were non-union
altogether

In Lusardr` v. Xerox Corp., 118 F.R.D. 351 (D.N.J. 1987) the court
decertified a conditional class of plaintiffs in an age-discrimination action based on
circumstantial statistical evidence of disparate treatment, holding that members of
the proposed class were not similarly situated:

members of the proposed class came from different depiitments groups
organizations sub-organizations units and local offices]j performed
different jobs at different geographic locations were subject to different jobs
actions concerning reductions in the work force, which occurred at various
times as a result of decisions by different supervisors made on a
decentralized employee-by-employee basis

A class action is inappropriate if, as here, “each individual’s right to
recovery depends on facts peculiar to that individual.” Kennedy v. Baxrer
Healzhcare Corp., 43 Cal.AppA“‘ 799, 809 (1996).

If the current action were certified, it would devolve into a series of
DEFENDANT ERICK GEISLER AND GS ENTERTAINMENT, LLC’S OPPOSITION TO

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individualized mini-trials concerning the disparate classifications of both union and
non-union crewmembers and their numerous disparate job categories and each
individual’s varying compensation rates therefore confi.lsing the jury._

Multiple significant liability issues will fracture any trial into many mini-
trials. Such individualized resolution of any class claims would be unmanageable
See Cily of San Jose v. Superior Courr, 12 Cal.3d 447, 459-63 (1974); Keller v.
niesde Moming, ma 179 Cai.AppAt“ 1389, 1397 (2009).

4. Adequate Representation

Plaintiffs do not adequately represent the putative class They are members
of a union that has settled its claims with Def`endants and have brought a lawsuit on
behalf of unnamed putative class members that have no right to bring an action in
this court or who have released their claims Accordingly, Plaintiffs are not
adequate representatives of the putative class

No class action may be certified where a putative class is literally made of
competing interests Plaintiffs seek to represent a putative class in an action when
unnamed members of the putative class are barred from doing so under agreements
to arbitrate. Plaintiffs also seek to represent a putative class in an action when
most members of that class (union and non- union) have released their wage
claims while Plaintiffs have not.

Adequate representation cannot exist where a fundamental conflict exists
within the class as to the specific issues in controversy Valley Drug Co. v.
Generva Pharmaceutz`cals, Inc. 350 F 3d 1181, 1189 (l lth Cir. 2003).

vII. RULE 23 (h) `

In addition to demonstrating that this case meets the four requirements of
Rule 23(a), Plaintiffs must demonstrate that it meets the requirements of FRCP
Rule 23 (b) (3) which provides for certification when “the court finds that the

questions of law or fact common to the members of the class predominate over any

DEFENDANT ERICK GEIS ER AND GS ENTERTAINMENT, LLC’S OPPOSITION TO
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questions affecting only individual members and that a class action is superior to
other available methods for the fair and efficient adjudication of the controversy.”

In the current action common questions of law or fact do not predominate
over questions affecting individual putative class members Questions will arise as
to whether individual members signed releases whether members are union
members or non-union, which union they belonged to, whether the union released
it claims whether individual union members are subject to arbitration clauses
what their job H.lnction was what their pay rate was their entitlement to overtime,
if any, and wage penalties if any.

Plaintiffs argue that the common issue is whether, in fact, the members of
the putative class were paid late and then simple calculations can be made on each
claim.

However as the court stated in Sarvz`ss, supra , in finding the alleged wage
and hour violations of the putative class did not satisfy Rule 23 (b) (3):

To the extent, for example, that Plaintiff claims the wages due and unpaid to
him are overtime wages an individual determination of whether there are in
fact any wages owed might rest on whether Plaintiff is an exempt employee
Calling such issues simply damages calculations Plaintiff appears to suggest
that such issues are easily amenable to class treatment Although the Court
does not doubt that the existence of simple calculations would not
undermine certification, the Court views the potential issues here (at least as
Plaintiff has defined the class) as a different matter: because of the broad
range of employees the issues do not simply encompass calculation, but
also entitlement Accordingly, the Court is not convinced that common
issues predominate. Id. at 912 [emphasis added].

The issues in the instant action do not reduce down to simple damage
calculations Each cast and crewmember has a variety of entitlement
determinations and issues to be decided which defeat the Plaintiffs’ claims of

predominance of common questions of law or fact.

XIII. CONCLUSION

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The Plaintiffs have not satisfied Rule 23 (a) and (b) for class certification of
this divided union and non-union cast and crew where union members agreed to
arbitrate their employment claims and non-union members did not. All members
worked different job classifications on different dates for different wages at
different times for different durations under different terms of employment, and
for which the unions have signed releases of liability and-the majority of the
putative class (union and non-union) have signed individual releases of liability.

Under these conditions the required numerosity, sufficiently common
questions of law and fact, typicality, and adequacy of representation, and related
considerations fail to make a class action procedure a superior means of relief than
individual claims by the Plaintiffs.

ln addition to the complete failure to satisfy the requirements of Rule 23 (a)
and (b), the motion should be denied on grounds of lack of ripeness mootness and
lack of standing

Defendants respectfully request that the Plaintiffs’ Motion be denied
Dated: July 15, 2013 LAW OFFICE OF STEPHEN J. GOLDBERG

By: //W M/LZ}

Stephen J. Goldberg, Aftorney for Defendants
Erick Geisler and GS Entertainment, LLC

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